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                                      UNITED STATES DISTRICT COURT
                                        Eastern District of Pennsylvania
                                               U.S. Court House
                                           Independence Mall West
                                               601 Market Street
                                         Philadelphia, PA 19106-1797
                                                 267-299-7431


                                                February 23, 2021

NOTICE OF TELEPHONE STATUS CONFERENCE AND REFERRAL TO MAGISTRATE JUDGE

STRAWBRIDGE:

RE:    HOUGH et al v. CITY OF PHILADELPHIA et al
       C.A. No. 20-3508

Counsel,

Please be advised that a telephone status conference is scheduled for March 25, 2021 at 10:30 AM. Call-in
details will follow via e-mail. The case is referred to Magistrate Judge Strawbridge for settlement discussions at
Judge Strawbridge's convenience.




                                                             s/Joseph B. Walton
                                                             ______________________
                                                             Joseph B. Walton
                                                             Civil Deputy to Judge Brody



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